       Case 3:24-cv-00623-JWD-SDJ               Document 19         09/13/24      Page 1 of 5




                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA

DEEP SOUTH TODAY, d/b/a VERITE
NEWS, GANNETT CO., INC., GRAY
LOCAL MEDIA, INC., NEXSTAR MEDIA,                     CASE NO. 3:24-cv-00623-RLB-SDJ
INC., SCRIPPS MEDIA INC., and TEGNA
INC.

                       Plaintiffs,

       v.

LIZ MURRILL, in her official capacity as
Attorney General of Louisiana, ROBERT P.
HODGES, in his official capacity as
Superintendent of the Louisiana State Police,
and HILLAR C. MOORE, III, in his official
capacity as District Attorney of East Baton
Rouge Parish,

                       Defendants.


               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Plaintiffs move this Court, pursuant to Federal Rule of Civil Procedure 65 and Local Rule

65, for a preliminary injunction enjoining all Defendants, their officers, agents, affiliates,

subsidiaries, servants, employees, successors, and all other persons or entities in active concern

or privity or participation with them from enforcing or threatening enforcement of House Bill

No. 173, Act No. 259 (“HB 173” or the “Act”), which makes it a criminal offense to “knowingly

or intentionally approach within twenty-five feet of a peace officer who is lawfully engaged in

the execution of his official duties after the peace officer has ordered the person to stop

approaching or to retreat.” La. Rev. Stat. § 14:109(A).

       For the reasons detailed in Plaintiffs’ Complaint, ECF No. 1, and the concurrently filed

Memorandum in Support of Plaintiffs’ Motion for Preliminary Injunction (“Memorandum”),
      Case 3:24-cv-00623-JWD-SDJ               Document 19          09/13/24      Page 2 of 5




Plaintiffs respectfully request that this Motion for Preliminary Injunction be granted pending

disposition of their claims that the Act violates the First and Fourteenth Amendments of the

Constitution on its face and as applied to Plaintiffs’ peaceful, nonobstructive efforts to gather

news within twenty-five feet of peace officers. In support of this Motion, Plaintiffs aver:

       1.      In their Complaint, Plaintiffs requested “[a]n injunction restraining Defendants

from enforcing the Act.” ECF No. 1.

       2.      This Motion is based on all the pleadings Plaintiff has filed in this case and

referenced herein, including the Complaint, Memorandum, and the evidence submitted in

support of this Motion, including the signed declarations of Jazmin Thibodeaux Chretien,

Richard Erbach, Katherine Jane Fernelius, Curtis Sprang, Patrick Thomas, and Tyrianne Nicole

Waivers.

       3.      The Act was signed by Governor Jeff Landry on May 24, 2024. It went into

effect on August 1, 2024 and is now codified at La. Rev. Stat. § 14:109.

       4.      The Act makes it a criminal offense to “knowingly or intentionally approach

within twenty-five feet of a peace officer who is lawfully engaged in the execution of his official

duties after the peace officer has ordered the person to stop approaching or to retreat.” La. Rev.

Stat. § 14:109(A). That provision grants peace officers standardless discretion to prevent

journalists from approaching near enough to document the way officers perform their duties.

       5.      Plaintiffs are likely to prevail on the merits of their claims that the Act violates the

First and Fourteenth Amendments of the Constitution, on its face and as applied to Plaintiffs’

peaceful, nonobstructive newsgathering in public places.

       6.      Plaintiffs are now suffering and will continue to suffer irreparable harm absent a

preliminary injunction because the “[t]he loss of First Amendment freedoms, for even minimal




                                                    2
      Case 3:24-cv-00623-JWD-SDJ                Document 19       09/13/24     Page 3 of 5




periods of time, unquestionably constitutes irreparable injury.” Book People, Inc. v. Wong, 91

F.4th 318, 341 (5th Cir. 2024).

       7.      The balance of equities favors granting preliminary injunctive relief because

“[i]njunctions protecting First Amendment freedoms are always in the public interest.” Id.

Preliminary relief would serve the public interest for the same reason.

       8.      The Court should enter a preliminary injunction without bond because Defendants

will suffer no damages from an injunction against enforcement of an unconstitutional statute, see

Planned Parenthood Gulf Coast, Inc. v. Kliebert, 141 F. Supp. 3d 604, 652 (M.D. La. 2015)

(waiving Rule 65 bond), while requiring the posting of a bond would burden Plaintiffs’ First

Amendment rights.

       9.      Plaintiffs’ concurrently filed Memorandum in support of this Motion is

incorporated herein.

       WHEREFORE, pursuant to Fed. R. Civ. P. 65(a), Plaintiffs respectfully request that the

Court enter a preliminary injunction, without bond, restraining Defendants from enforcing La.

Rev. Stat. § 14:109 pending a final judgment.

Dated: September 13, 2024                     /s/ Katie Townsend
                                             Katie Townsend (pro hac vice)
                                             ktownsend@rcfp.org
                                             Grayson Clary (pro hac vice)
                                             gclary@rcfp.org
                                             REPORTERS COMMITTEE FOR
                                              FREEDOM OF THE PRESS
                                             1156 15th Street NW, Suite 1020
                                             Washington, DC 20005
                                             Phone: 202.795.9300
                                             Fax: 202.795.9310

                                             /s/ Scott L. Sternberg
                                             STERNBERG NACCARI & WHITE LLC
                                             Scott L. Sternberg, La. Bar No. 33390
                                             M. Suzanne Montero, La. Bar No. 21361




                                                   3
Case 3:24-cv-00623-JWD-SDJ   Document 19        09/13/24      Page 4 of 5




                             935 Gravier Street, Suite 2020
                             New Orleans, LA 70112
                             Phone: (504) 324-1887
                             Fax: (504) 534-8961
                             scott@snw.law | suzy@snw.law

                             Attorneys for Plaintiffs Deep South Today, d/b/a
                             Verite News, Gannett Co., Inc., Gray Local Media,
                             Inc. Nexstar Media, Inc., Scripps Media Inc., and
                             TEGNA Inc.




                                 4
      Case 3:24-cv-00623-JWD-SDJ              Document 19        09/13/24      Page 5 of 5




                                CERTIFICATE OF SERVICE

       I hereby certify that on September 13, 2024, pursuant to Federal Rule of Civil Procedure

5(b)(2)(C) and Local Civil Rule 5(e)(2), I caused a true and correct copy of the foregoing

Motion, and all attachments thereto, to be served by CM/ECF.

                                             /s/ Katie Townsend
                                             Katie Townsend
                                             REPORTERS COMMITTEE FOR
                                              FREEDOM OF THE PRESS
                                             1156 15th Street NW, Suite 1020
                                             Washington, DC 20005
                                             Phone: 202.795.9300
                                             Fax: 202.795.9310

                                             Counsel for Plaintiffs Deep South Today, d/b/a
                                             Verite News, Gannett Co., Inc., Gray Local Media,
                                             Inc. Nexstar Media, Inc., Scripps Media Inc., and
                                             TEGNA Inc.




                                                  5
